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 7
                               UNITED STATES DISTRICT COURT
 8
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10                                                    Case No. 4:21-mc-80084
   IN RE EX PARTE APPLICATION OF
11 WOORI BANK AND KWANG SEOK                          [PROPOSED] ORDER GRANTING EX
12 KWON PURSUANT TO 28 U.S.C. § 1782                  PARTE APPLICATION TO ISSUE A
                                                      SUBPOENA PURSUANT TO 28 U.S.C.
13                           Applicants.              § 1782

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                                                                                         Case No.
     SMRH:4821-6011-0566.1   [PROPOSED] ORDER GRANTING EX PARTE APPLICATION TO ISSUE A SUBPOENA
                                                                      PURSUANT TO 28 U.S.C. § 1782
        Case 4:21-mc-80084-DMR Document 1-6 Filed 04/20/21 Page 2 of 2




 1            The Court, having read and considered Applicants Woori Bank’s and Kwang Seok Kwon’s

 2 (“Applicants”) Ex Parte Application to Issue a Subpoena Pursuant to 28 U.S.C. § 1782

 3 (“Application"), and the memorandum of law in support thereof and supporting declarations, the

 4 Court finds that for the reasons stated in the Application and accompanying memorandum of law:

 5 (1) the statutory requirements of 28 U.S.C. § 1782 are satisfied; and (2) the factors identified by

 6 the United States Supreme Court in Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241

 7 (2004) weigh in favor of granting the Application.

 8            The Court therefore ORDERS:

 9            1.       The Application is GRANTED; and

10            2.       Applicants may issue to Teamblind, Inc. the document subpoena in the form

11                     attached as Exhibit A to the Application.

12            IT IS SO ORDERED.

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14 Dated: ____________________
                                                                   United States District Judge
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     SMRH:4821-6011-0566.1    [PROPOSED] ORDER GRANTING EX PARTE APPLICATION TO ISSUE A SUBPOENA
                                                                       PURSUANT TO 28 U.S.C. § 1782
